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                         UNITED STATES DISTRICT COURT

                       CENTRAL DISTRICT OF CALIFORNIA

   VIVA NATURALS, INC.,             )            Case No. 2:20-CV-03107-RGK-AFM
                                    )
                  Plaintiff         )            MEMORANDUM OF POINTS AND
                                    )            AUTHORITIES IN SUPPORT OF
        vs.                         )            MOTION FOR SUMMARY
                                    )            JUDGMENT
   LIEF ORGANICS, LLC,              )
                                    )            Hearing Date: July 12, 2021
                  Defendant         )            Hearing Time: 9:00 a.m.
                                    )
                                    )            Final Pretrial Conf.: August 9, 2021
                                    )            Trial Date: August 24, 2021
                                    )
                                    )            [Concurrently filed with: (1) Notice of
                                    )            Motion; (2) Separate Statement of
                                    )            Uncontroverted Facts and Conclusions
                                    )            of Law; (3) Declaration of James
                                    )            Schultz; and (4) Proposed Judgment]
   ________________________________ )
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                 MEMORANDUM OF POINTS AND AUTHORITIES

      I.       INTRODUCTION

            The material facts underlying this motion for summary judgment are

   uncontrovertible. There are no genuine issues to be tried. Nor can there be, since

   Defendant has admitted every material fact proving Plaintiff’s case and Defendant

   cannot undermine those admissions or provide any information in opposition to

   the motion, because it has failed to produce one single shred of documentation

   during discovery. Plaintiff is entitled to (i) damages of $309,384 resulting from

   Defendant’s breach of contract, breach of warranty, and negligence, as well as (ii)

   a dismissal with prejudice of Defendant’s Counterclaim.

      II.      FACTUAL BACKGROUND

            Plaintiff is engaged in the business of developing and selling dietary

   supplement products. Statement of Uncontroverted Facts and Conclusions of Law

   (“UF”) No. 1. Defendant purports to be a full-service cGMP (Current Good

   Manufacturing Practices) manufacturer of dietary supplements. UF No. 2.

            In 2017, Defendant entered into an agreement with Plaintiff by which

   Defendant would manufacture flavored multi-source collagen powder products

   (the “Product”) for Plaintiff. UF No. 3. Defendant further warranted to Plaintiff

   that the Product would be of merchantable quality. UF No. 4.
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         The Product’s specification required that the granular form of chicken

   collagen be used in its manufacturing, not the powdered form.           UF No. 5.

   Defendant knew that there were two forms of chicken collagen and that only the

   granular form was to be used in the Product’s manufacture. UF No. 6.

         However, Defendant used the incorrect form of chicken collagen and

   manufactured the Product using the powder form of the chicken collagen, or a mix

   of the powder and granular chicken collagen rather than the granular form, and

   admitted so in writing. UF No. 7. Defendant did not note a deviation with the

   Plaintiff’s specifications pursuant cGMP requirements under 21 C.F.R. § 111.70,

   which requires manufacturers to comply with ingredient identity specifications.

   UF No. 8. As a result, $74,445 worth of Product was not saleable because the

   Product was not produced in accordance with Plaintiff’s specifications. UF No. 9.

         In the course of their relationship, Plaintiff sent raw ingredients, packaging

   labels, and other materials directly to Defendant. UF No. 10. Defendant was

   responsible for managing the inventory provided by Plaintiff in exchange for a

   fee. UF No. 11. Yet Defendant has failed to account for $31,677 of the Plaintiff’s

   inventory. UF No. 12. In addition, Defendant is holding $203,262 of Plaintiff’s

   inventory, excluding the $74,445 value of the Product and the missing inventory

   of $31,677, to which Defendant has not given Plaintiff access or released, despite

   Plaintiff’s requests and demands. UF No. 13.
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          Therefore, in total, Plaintiff has suffered damages of $309,384. UF No. 14.1

   These damages are based on Defendant’s admissions. Id.

          Defendant has not presented any evidence pertaining to (i) Defendant’s

   compliance with cGMP requirements in manufacturing, storing and distributing

   the Plaintiff’s products; (ii) any steps taken by the Defendant to manufacture the

   Product in accordance with Plaintiff’s specifications; or (iii) how the Plaintiff’s

   inventory was tracked or managed. UF No. 15. Nor has Defendant produced any

   evidence supporting its allegations pertaining to (i) misconduct by Plaintiff, or (ii)

   what damages were suffered by Defendant or how those damages are to be

   calculated in support of Defendant’s counterclaim. UF No. 16.

          In sum, the material facts upon which this motion is based are admitted, and

   despite Plaintiff’s requests during discovery, Defendant has provided no evidence

   – either in the form of documentation or witnesses – that would or could undercut

   Plaintiff’s case or Defendant’s admissions, much less lend any support for the

   Counterclaims or Affirmative Defenses.

       III.    LEGAL STANDARD

              Pursuant to Rule 56 of the Federal Rules of Civil Procedure, summary

   judgment is proper where “there is no genuine dispute as to any material fact and

   the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a);
   1
     To the extent the Court denies this motion and the matter proceeds to trial, Plaintiff intends to
   seek further damages relating to lost sales, lost profits, and other damages. The judgment sought
   on this motion is limited to the amount admitted by Defendant.
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   Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). “Where the record taken as a

   whole could not lead a rational trier of fact to find for the nonmoving party, there

   is no ‘genuine issue for trial.’” Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,

   475 U.S. 574, 586-87 (1986) (citations omitted). Put differently, “[t]he district

   court should grant summary judgment where the only reasonable conclusion to be

   drawn from the record supports the moving party.” Gregory v. United States, 178

   F.3d 1294 (6th Cir. 1999); Miksad v. Dialog Info. Servs., Inc., 900 F.2d 263 (9th

   Cir. 1990). Once the moving party has met this standard, the burden shifts to the

   party opposing summary judgment to demonstrate a genuine issue for trial.

   Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247 (1986). The opposing party

   must do so with specific facts. Matsushita, 475 U.S. at 586.

      IV.    THE PLAINTIFF IS ENTITLED TO SUMMARY JUDGMENT

            All of the material facts on this motion have been admitted by the

   Defendant. See Declaration of James K. Schultz (“Schultz Decl.”) at ¶¶ 5-7. The

   Defendant will not be able to demonstrate a genuine issue of any material fact for

   trial by virtue of these admissions. “Failure to timely respond to requests for

   admissions results in automatic admission of the matters requested.” FTC v.

   Medicor LLC, 217 F. Supp. 2d 1048, 1053 (C.D. Cal 2002). “No motion to

   establish the admissions is needed because Federal Rule of Civil Procedure 36(a)

   is self-executing.” Id. Once facts are deemed admitted, the Court may properly
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   rely on them as a basis for entry of summary judgment.            See Layton v.

   International Ass’n of Machinists and Aerospace Workers, 285 Fed. Appx. 340,

   *341 (9th Cir. 2008); see also Conlon v. U.S., 474 F.3d 616, *621 (9th Cir. 2007)

   (“Unanswered requests for admissions may be relied on as the basis for granting

   summary judgment”).

          Defendant will also be unable to provide any information in opposing this

   motion, as it has not provided any documents during discovery and never

   propounded any discovery requests on Plaintiff before the discovery deadline

   expired. Schultz Decl. ¶¶ 7-8. When a non-movant on summary judgment fails to

   provide information as required during discovery, the party is not allowed to use

   that information “on a motion, at a hearing, or at a trial, unless the failure was

   substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1). The Court may

   not consider information submitted in opposition to a summary judgment motion

   if such information was not disclosed prior to the discovery deadline. See, e.g.,

   Weinberg v. Whatcom County, 241 F.3d 746, *750-751 (9th Cir. 2001); Ruiz v.

   Walmart Inc., 2021 WL 948815, *4 (C.D. Cal. 2021). Here, the Court has already

   found that there was no good cause to extend the discovery deadline, underscoring

   that Defendant’s failure to substantively engage in discovery, much less produce a

   shred of documentation requested by the Plaintiff, has been unjustified and
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   allowing the use of previously unproduced information would undoubtedly be

   unduly prejudicial to Plaintiff. ECF No. 40.

           The Amended Complaint contains three counts against the Defendant:

   Breach of Contract (Count One), Breach of Warranty (Count Two), and

   Negligence (Count Three). There are two aspects to these claims. The first

   relates to Defendant’s manufacturing of the Product, by which Defendant

   breached its contract and warranty of merchantability and was negligent. The

   second relates to the wrongful storing and withholding of Plaintiff’s inventory,

   constituting breach of contract and negligence.

           A. Defendant’s Manufacturing of Product

                1. Breaches of Contract and Warranty

           In order to prevail in an action for breach of contract, a plaintiff must

   prove: (1) the existence of a valid contract between the parties; (2) plaintiff’s

   performance or excuse of nonperformance2; (3) the defendant’s breach; and (4)

   resulting damages to plaintiff. Reichert v. Gen, Ins. Co. of Am., 68 Cal. 2d 822,

   830 (1968). Furthermore, “[a]ny affirmation of fact or promise made by the seller

   to the buyer which relates to the goods and becomes part of the basis of the



   2
     There is no dispute as to Plaintiff’s performance under the parties’ agreement. Indeed,
   Defendant has not produced any evidence supporting its allegations pertaining to alleged
   misconduct by the Plaintiff or what damages were suffered by the Defendant or how those
   damages are to be calculated. UF No. 16.
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   bargain creates an express warranty that the goods shall conform to the

   affirmation or promise.” California Commercial Code § 2313(1)(a).

          With respect to the manufacturing of the Product, the contract between the

   parties is clear and admitted by Defendant, as is the warranty made by Defendant.

   Plaintiff is engaged in the business of developing and selling dietary supplement

   products and Defendant purports to be a full-service cGMP manufacturer of

   dietary supplements. UF Nos. 1 and 2. The parties entered into an agreement for

   the manufacture of the Product, which Defendant warranted would be of

   merchantable quality. UF Nos. 3 and 4. Defendant knew there were two forms of

   chicken collagen and that only the granular form was to be used in the Product’s

   manufacture. UF No. 6. The specification for the Product required that only the

   granular form of chicken collagen be used in manufacturing of the Product, and

   not the powdered form of chicken collagen or a mix of the two. UF No. 5.

         The Defendant’s breach of the contract and warranty is also admitted by

   Defendant and straightforward. It is undisputed that Defendant used the incorrect

   form of chicken collagen and manufactured the Product using the powder form of

   the chicken collagen, or a mix of the powder and granular chicken collagen rather

   than the granular form, and admitted so in writing. UF No. 7. Defendant did not

   note a deviation with the Plaintiff’s specifications pursuant cGMP requirements

   under 21 C.F.R. § 111.70, which requires manufacturers to comply with
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   ingredient identity specifications. UF No. 8. In fact, Defendant never provided

   any information during discovery pertaining to its compliance with cGMP

   requirements in manufacturing Plaintiff’s products or any steps taken by the

   Defendant to manufacture the Product in accordance with Plaintiff’s

   specifications. UF No. 15.

         Finally, the resulting damages stemming from Defendant’s breaches of

   contract and warranty are also uncontested. Defendant has admitted that $74,445

   worth of Product was not saleable because the Product was not produced in

   accordance with Plaintiff’s specifications. UF No. 9.

         With respect to Plaintiff’s inventory, the parties had an agreement that

   Plaintiff would send raw ingredients, packaging labels, and other materials

   directly to Defendant. UF No. 10. Defendant was responsible for managing the

   inventory provided by Plaintiff in exchange for a fee. UF No. 11. Defendant

   mismanaged that inventory and breached its agreement with Plaintiff in two ways.

   First, Defendant has failed to account for $31,677 of the Plaintiff’s inventory. UF

   No. 12.    Second, Defendant has continued holding $203,262 of Plaintiff’s

   inventory, despite Plaintiff’s requests and demands. UF No. 13. Defendant has

   not even presented any evidence pertaining to how the Plaintiff’s inventory was

   stored, tracked, managed or distributed. UF No. 15.
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       In total and to date, Plaintiff has suffered damages of $309,384 as a result of

 Defendant’s breaches of contract and warranty. UF No. 14.

              2. Negligence

        In order to prevail in an action for negligence, a plaintiff must prove: (1)

 the defendant owed the plaintiff a legal duty of care; (2) the defendant breached

 that duty; and (3) the breach proximally and legally caused injury to the plaintiff.

 Coleman v. Medtronic, Inc., 223 Cal. App. 4th 413 (Cal. Ct. App. 2014).

       As a manufacturer of the Product, Defendant owed a legal duty of care to

 Plaintiff to manufacture the Product in accordance with Plaintiff’s specifications

 making clear that only the granular form of chicken collagen be used in

 manufacturing of the Product, and not the powdered form. UF Nos. 1-5; Reynolds

 v. Natural Gas Equipment, 184 Cal. App. 2d 724, 736. (1960) (manufacturer’s

 duty of care “requires reasonable care to be exercised in assembling component

 parts and inspecting and testing them before the product leaves the plant”).

 Defendant has admitted that it breached that duty by manufacturing the Product

 using the powder form of the chicken collagen, or a mix of the powder and

 granular chicken collagen.     UF No. 7.     Notably, Defendant did not note a

 deviation with the Plaintiff’s specifications pursuant cGMP requirements under 21

 C.F.R. § 111.70, which requires manufacturers to comply with ingredient identity

 specifications; Defendant never even provided any information whatsoever during
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                                  #:185



 discovery pertaining to its compliance with cGMP requirements in manufacturing

 Plaintiff’s products or any steps taken by the Defendant to manufacture the

 Product in accordance with Plaintiff’s specifications. UF Nos. 8 and 15.3

          Defendant’s breach proximally and legally caused damages to Plaintiff, as

 Defendant has admitted that $74,445 worth of Product was not saleable because

 the Product was not produced in accordance with Plaintiff’s specifications. UF

 No. 9.

          Defendant also owed a legal duty of care to Plaintiff with respect to its

 managing of inventory Plaintiff had shipped to Defendant for use in

 manufacturing. See, e.g., Crystal Ice & Cold Storage Co. v. Renschler Produce

 Co., 99 Cal. App. 417 (1929) (warehouse obligated to use ordinary care in

 maintaining inventory).       Defendant breached that duty by failing to account for

 $31,677 of the Plaintiff’s inventory and continued holding $203,262 of Plaintiff’s

 inventory. UF Nos. 12 and 13. Defendant has not even tried to produce any

 evidence pertaining to how the Plaintiff’s inventory was stored, tracked, managed

 or distributed, rendering it defenseless against a claim for negligence. UF No. 15.

          The total damages proximally and legally caused by Defendant as a result

 of its negligence is $309,384. UF No. 14.


 3
   A federal statute or regulation may be adopted as a standard of care, the breach of which gives
 rise to a presumption of negligence. Sierra-Bay Fed. Land Bank Assn. v. Superior Court, 227
 Cal. App. 3d 318, 336 (1991); Toole v. Richardson-Merrell Inc., 251 Cal. App. 2d 689, 703-704
 (1967).
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    V.     CONCLUSION

         For all the foregoing reasons, Plaintiff respectfully requests that the Court

 grant its motion for summary judgment in its favor, grant damages of $309,384 in

 Plaintiff’s favor, and dismiss Defendant’s Counterclaim with prejudice.

 Dated: June 10, 2021             Respectfully submitted,

                                  SESSIONS, ISRAEL & SHARTLE, L.L.P.

                                  /s/James K. Schultz
                                  James K. Schultz
                                  Debbie P. Kirkpatrick
                                  Attorneys for Plaintiff Viva Naturals, Inc.
